Case 2:16-cv-00783-ECM-SMD Document 106 Filed 05/10/18 Page 1 of 24



             IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF ALABAMA
                      NORTHERN DIVISION

TREVA THOMPSON, et al.,                   )
                                          )
              Plaintiffs,                 )
                                          )   CIVIL ACTION NO.
       v.                                 )   2:16-cv-783-WKW
                                          )
JOHN H. MERRILL, in his official          )   CLASS ACTION
capacity as Secretary of State, et al.,   )
                                          )
              Defendants.


        PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
        Case 2:16-cv-00783-ECM-SMD Document 106 Filed 05/10/18 Page 2 of 24




                                             TABLE OF CONTENTS

TABLE OF AUTHORITIES .......................................................................................... ii
INTRODUCTION .......................................................................................................... 1
ARGUMENT .................................................................................................................. 2
   I.         Proposed Class Definition ................................................................................ 3
   II.        Plaintiffs Satisfy the Criteria of Rule 23(a) ..................................................... 5
         A.     Numerosity .................................................................................................... 5
         B.     Commonality................................................................................................ 10
         C.     Typicality ..................................................................................................... 12
         D.     Adequacy of Representation ....................................................................... 13
   III. Class Certification Is Appropriate Under Rule 23(b)(2) ............................... 16
CONCLUSION............................................................................................................. 17
CERTIFICATE OF SERVICE ..................................................................................... 19




                                                                 i
     Case 2:16-cv-00783-ECM-SMD Document 106 Filed 05/10/18 Page 3 of 24



                                      TABLE OF AUTHORITIES


Cases                                                                                                      Page(s)
Amchem Prods., Inc. v. Windsor,
  521 U.S. 591 (1997) ............................................................................... 12, 13, 14, 16
Braggs v. Dunn,
  317 F.R.D. 634 (M.D. Ala. 2016) ............................................................................... 5
Cox v. Am. Cast Iron Pipe Co.,
  784 F.2d 1546 (11th Cir. 1986) ......................................................................... 5, 7, 9
Evans v. U.S. Pipe & Foundry Co.,
  696 F.2d 925 (11th Cir. 1983) ................................................................................... 6
Jones v. Diamond,
  519 F.2d 1090 (5th Cir. 1975) ................................................................................... 3
Karhu v. Vital Pharms., Inc.,
  621 F. App’x 945 (11th Cir. 2015) ............................................................................. 4
Kirkpatrick v. Bradford,
  827 F.2d 718 (11th Cir. 1987) ................................................................................. 14
Murray v. Auslander,
 244 F.3d 807 (11th Cir. 2001) ................................................................................. 12
Sanchez-Knutson v. Ford Motor Co.,
  310 F.R.D. 529 (S.D. Fla. 2015) .............................................................................. 15
Shelton v. Bledsoe,
  775 F.3d 554 (3d Cir. 2015) ....................................................................................... 5
Shook v. El Paso Cty.,
  386 F.3d 963 (10th Cir. 2004) ................................................................................... 5
Valley Drug Co. v. Geneva Pharms., Inc.,
  350 F.3d 1181 (11th Cir. 2003) ......................................................................... 13, 14
Vega v. T-Mobile USA, Inc.,
  564 F.3d 1256 (11th Cir. 2009) .......................................................................... 5-6, 6
Wal-Mart Stores, Inc. v. Dukes,
 564 U.S. 338 (2011) ............................................................................... 10, 11, 12, 16
Wright v. Circuit City Stores, Inc.,
  201 F.R.D. 526 (N.D. Ala. 2001)............................................................................ 6, 7




                                                          ii
      Case 2:16-cv-00783-ECM-SMD Document 106 Filed 05/10/18 Page 4 of 24



Rules                                                                                                               Page(s)
Fed. R. Civ. P. 23(a) ..............................................................................................passim
Fed. R. Civ. P. 23(b) ................................................................................................. 2, 16
Fed. R. Civ. P. 23(c) ....................................................................................................... 3
Fed. R. Civ. P. 23(g) ..................................................................................................... 15

Other Authorities                                                                                                   Page(s)
Ala. Sentencing Comm’n, 2017 Report (2017) .......................................................... 6, 9
Claire Greenberg, Marc Meredith & Michael Morse, The Growing and Broad Nature
       of Legal Financial Obligations: Evidence from Alabama Court Records, 48
       Conn. L. Rev. 1079 (2016) ............................................................................... 7, 8
Fed. Judicial Ctr., Manual for Complex Litigation (4th ed. 2004) ........................... 4-5
Fed. R. Civ. P. 23 advisory committee’s note to 1966 amendment .............................. 5
Marc Meredith & Michael Morse, Discretionary Disenfranchisement: The Case of
     Legal Financial Obligations (2017) .................................................................... 9
U.S. Dep’t of Health & Human Servs., HHS Poverty Guidelines
      for 2018 ................................................................................................................ 8
William B. Rubenstein, Newberg on Class Action (5th ed. 2017) .......................... 5, 15
www.alacourt.gov........................................................................................................... 4




                                                              iii
    Case 2:16-cv-00783-ECM-SMD Document 106 Filed 05/10/18 Page 5 of 24



                                 INTRODUCTION

      Plaintiffs respectfully move this Court to enter an order certifying this case as

a class action pursuant to Federal Rules of Civil Procedure 23(a) and 23(b)(2). The

State of Alabama excludes from the franchise all felons whose convictions are for

crimes of “moral turpitude.” This phrase first appeared in the 1901 Alabama

Constitution and was found intentionally racially discriminatory by the Supreme

Court. That phrase went undefined until 2017, when the legislature enacted House

Bill (“HB”) 282, enumerating a list of disenfranchising felonies. The Secretary of State

has unilaterally decided to apply HB 282 retroactively to all felons convicted of an

enumerated offense, even for convictions prior to HB 282’s passage. Moreover,

although there is a process to obtain a Certificate of Eligibility to Register to Vote

(“CERV”) to restore voting rights, citizens are ineligible for a CERV unless they pay

the State all outstanding fines, fees, or restitution, with no exception for indigency.

Alabama’s disenfranchisement of ex-felons beyond the completion of their sentences

is in marked contrast to prevailing national approach.

      Named plaintiffs Gamble, Thompson, Lanier, and King seek to represent a

class pursuant to Counts 1, 2, and 12 of plaintiffs’ original complaint, which alleges

that Section 177(b) of Alabama’s Constitution—the “moral turpitude” provision—was

enacted and maintained with a discriminatory intent and imposes cruel and unusual

punishment. Those named plaintiffs likewise seek to represent a subclass relevant to

their Ex Post Facto (Count 11 of original complaint) and Due Process claims (Counts

16 and 17 of supplemental complaint). And plaintiffs Gamble and Thompson seek to


                                           1
    Case 2:16-cv-00783-ECM-SMD Document 106 Filed 05/10/18 Page 6 of 24



represent a Legal Financial Obligation (“LFO”) subclass of persons unable to apply

for restoration of voting rights on account of outstanding fines, fees, or restitution

(Count 13 of original complaint).

      For the reasons described herein, the plaintiffs’ class and subclass claims are

well suited for class treatment and satisfy the requirements of Federal Rule of Civil

Procedure 23. Plaintiffs thus respectfully request that the Court certify these claims

as a class action.

                                    ARGUMENT

      The Court should certify Counts 1, 2, 11, 12, 13, 16, and 17 for class treatment

pursuant to Federal Rule of Civil Procedure 23(a) and (b)(2). To have a suit certified

as a class action, plaintiffs must satisfy the requirements of Rule 23(a) as well as the

additional requirements of one of three categories of class actions. Rule 23(a) has four

requirements: (1) numerosity, (2) commonality, (3) typicality, and (4) adequacy of

representation. See Fed. R. Civ. P. 23(a)(1)-(4). A class action may be maintained

pursuant to Rule 23(b)(2) when “the party opposing the class has acted or refused to

act on grounds that apply generally to the class, so that final injunctive relief or

corresponding declaratory relief is appropriate respecting the class as a whole.” Fed.

R. Civ. P. 23(b)(2). In assessing whether a suit satisfies Rule 23(a)’s requirements,

courts are to err on the side of favoring class treatment, particularly in civil rights

suits. “[I]t is important to remember that Rule 23(a) must be read liberally in the

context of civil rights suits. This is especially true when the class action falls under




                                           2
     Case 2:16-cv-00783-ECM-SMD Document 106 Filed 05/10/18 Page 7 of 24



Rule 23(b)(2) . . . .” Jones v. Diamond, 519 F.2d 1090, 1099 (5th Cir. 1975) (citation

and footnote omitted).

       As discussed below, because plaintiffs undoubtedly satisfy the requirements of

Rule 23(a), and class certification is appropriate under Rule 23(b)(2), plaintiffs’

motion for class certification should be granted.

I.     Proposed Class Definition

       An order certifying a class action must define the class. See Fed. R. Civ. P.

23(c)(1)(B). Plaintiffs propose one class and two subclasses. The plaintiff class,

applicable to plaintiffs’ discriminatory intent and cruel and unusual punishment

claims (Counts 1, 2, and 12 of original complaint) is defined as:

       all persons otherwise eligible to register to vote in Alabama who are
       now, or who may in the future be, denied the right to vote pursuant to
       Section 177(b) because of a conviction for a felony “involving moral
       turpitude” as defined by section (c) of Alabama Code Section 17-3-30.1.

Plaintiffs propose a subclass relevant to their Ex Post Facto and additional Due

Process claims (Count 11 of original complaint and Counts 16 and 17 of supplemental

complaint) defined as:

       all persons otherwise eligible to register to vote in Alabama who were
       convicted of a felony “involving moral turpitude” as defined by section
       (c) of Alabama Code Section 17-3-30.1 before August 1, 2017 but are
       unable to register to vote pursuant to Defendant Merrill’s retroactive
       implementation of Alabama Code Section 17-3-30.1 to individuals with
       prior convictions.

Finally, plaintiffs propose a subclass relevant to their LFO claim (Count 13 of original

complaint) defined as:

       all persons otherwise eligible to register to vote in Alabama who (1) are
       now, or who may in the future be, denied the right to vote pursuant to

                                           3
    Case 2:16-cv-00783-ECM-SMD Document 106 Filed 05/10/18 Page 8 of 24



       Section 177(b) because of a conviction for a felony “involving moral
       turpitude” as defined by section (c) of Alabama Code Section 17-3-30.1;
       and (2) are unable to pay their fines, fees, and/or restitution due to their
       socioeconomic status; but (3) are otherwise eligible to apply for a CERV.

See Supp. Compl. ¶¶ 33-36.

       Should the Court ultimately grant the injunctive and declaratory relief

plaintiffs seek, whether with respect to the plaintiff class as a whole or the two

subclasses, Alabama will be required to grant the class and subclass members the

right to vote. The class and subclasses are identifiable. Alabama maintains a

database of criminal convictions, www.alacourt.com, and among the fields included

in the database are a code for the conviction type (e.g., TOP1 for Theft of Property,

1st Degree), the name of a specific conviction, the class of the conviction, and the date

of the conviction. See www.alacourt.com. It likewise includes information about

payments towards fines, fees, or restitution, and whether such amounts are

outstanding. This robust database contains all the information needed to, in an easily

administrable manner, generate a list of the members of the class and subclasses. See

Karhu v. Vital Pharms., Inc., 621 F. App’x 945, 948 (11th Cir. 2015) (permitting

reliance on defendant’s records where “records are in fact useful for identification

purposes, and that identification will be administratively feasible”). The proposed

definitions rely upon objective criteria—e.g., a specific conviction, the date of a specific

conviction, or the member’s financial capacity—and thus satisfy the requirement for

a class certified under Rule 23(b)(2). 1


1In any event, where injunctive and declaratory relief is sought under Rule 23(b)(2), rather than
monetary damages under Rule 23(b)(3), the requirements of definiteness and ascertainability of class
members do not apply. See Fed. Judicial Ctr., Manual for Complex Litigation § 21.222 (4th ed. 2004)
                                                 4
      Case 2:16-cv-00783-ECM-SMD Document 106 Filed 05/10/18 Page 9 of 24



II.     Plaintiffs Satisfy the Criteria of Rule 23(a)

        A.      Numerosity

        Plaintiffs easily meet the numerosity requirement of Rule 23(a)(1). To be

maintained as a class action, the class must be “so numerous that joinder of all

members is impracticable.” Fed. R. Civ. P. 23(a)(1). The Eleventh Circuit has noted

that “while there is no fixed numerosity rule, generally less than twenty-one is

inadequate, more than forty adequate, with numbers between varying according to

other factors.” Cox v. Am. Cast Iron Pipe Co., 784 F.2d 1546, 1553 (11th Cir. 1986)

(internal quotation marks omitted). Plaintiffs’ evidentiary burden to prove

numerosity is not high. “[A]lthough mere allegations of numerosity are insufficient to

meet this prerequisite, a plaintiff need not show the precise number of members in

the class.” Vega v. T-Mobile USA, Inc., 564 F.3d 1256, 1267 (11th Cir. 2009) (quoting




(“[B]ecause individual damage claims are likely, Rule 23(b)(3) actions require a class definition that
will permit identification of individual class members, while Rule 23(b)(1) or (b)(2) actions may not.”).
Moreover, notice is not required in Rule 23(b)(2) actions, and it is the case that

        relief obtained on behalf of the class is injunctive and therefore does not require
        distribution to the class. Because defendants are legally obligated to comply [with any
        relief the court orders] . . . it is usually unnecessary to define with precision the persons
        entitled to enforce compliance. Therefore, it is not clear that the implied requirement
        of definiteness should apply to Rule 23(b)(2) class actions at all.

1 William B. Rubenstein, Newberg on Class Action § 3:7 (5th ed. 2017) (internal quotation marks and
footnote omitted). Thus, “while the lack of identifiability is a factor that may defeat Rule 23(b)(3) class
certification, such is not the case with respect to class certification under Rule 23(b)(2).” Shook v. El
Paso Cty., 386 F.3d 963, 972 (10th Cir. 2004) (citing Yaffe v. Powers, 454 F.2d 1362, 1366 (1st Cir.
1972)); see also Shelton v. Bledsoe, 775 F.3d 554, 563 (3d Cir. 2015) (holding that “ascertainability is
not a requirement for certification of a (b)(2) class seeking only injunctive and declaratory relief”); Fed.
R. Civ. P. 23 advisory committee’s note to 1966 amendment (providing “illustrative” examples of (b)(2)
classes as “various actions in the civil-rights field where a party is charged with discriminating
unlawfully against a class, usually one whose members are incapable of specific enumeration”). A court
in this district recently adopted this view. See Braggs v. Dunn, 317 F.R.D. 634, 671-73 (M.D. Ala. 2016)
(surveying authorities and concluding that (b)(2) class “need not be ascertainable”).


                                                     5
   Case 2:16-cv-00783-ECM-SMD Document 106 Filed 05/10/18 Page 10 of 24



Evans v. U.S. Pipe & Foundry Co., 696 F.2d 925, 930 (11th Cir. 1983)); id. (noting

plaintiff must make “some showing” (emphasis in original)); Wright v. Circuit City

Stores, Inc., 201 F.R.D. 526, 537 (N.D. Ala. 2001) (“Estimates as to the size of the

proposed class are sufficient for a class action to proceed.”). Moreover, the Eleventh

Circuit has explained that “the relevance of the numerosity requirement to class

certification may in appropriate cases be less significant where in fact class wide

discrimination has been alleged.” Evans v. U.S. Pipe & Foundry Co., 696 F.2d 925,

930 (11th Cir. 1983). And “where the numerosity question is a close one, a balance

should be struck in favor of a finding of numerosity, since the court has the option to

decertify pursuant to Rule 23(c)(1).” Id.

       The numerosity requirement is plainly met here. The Alabama Sentencing

Commission’s 2017 Report lists the top twenty-five felony convictions in Alabama by

fiscal year. For fiscal years 2013 through 2015, among the top twenty-five are twelve

disqualifying offenses under HB 282. Below are the number of convictions per fiscal

year of these disqualifying felonies: 2

     Disqualifying         FY13 Convictions      FY14 Convictions      FY15 Convictions
         Felony
 Theft of Property (2nd)          1,375                 1,385                  1,320
 Theft of Property (1st)          1,130                 1,311                  1,162
 Robbery (1st)                     394                   387                    431
 Assault (2nd)                     415                   449                    396
 Robbery (3rd)                     260                   273                    246
 Burglary (2nd)                    165                   158                    166
 Robbery (2nd)                     180                   160                    164
 Trafficking Drugs                 145                   149                    157
 Assault (1st)                     140                   148                    131

2      See      Ala.   Sentencing        Comm’n,       2017   Report,   at    18      (2017),
http://sentencingcommission.alacourt.gov/Publications/ASC%202017%20Final%20Report.pdf
(attached as Attachment A to Exhibit 5 (Lang Declaration)).

                                             6
          Case 2:16-cv-00783-ECM-SMD Document 106 Filed 05/10/18 Page 11 of 24



        Disqualifying       FY13 Convictions        FY14 Convictions       FY15 Convictions
           Felony
    Murder                           126                    154                     121
    Manslaughter                      93                    103                     118
    Forgery (2nd)                    136                    121                     N/A
    TOTAL                           4,559                  4,798                   4,412

            This data, collected by the Alabama court system through its Sentencing

Commission, demonstrates that for just twelve of the fifty-nine disqualifying felonies

under Section 17-3-30.1, the yearly convictions are well over four thousand. This

demonstrates thousands of members of both the plaintiff class and the first subclass,

related to retroactive application of Section 17-3-30.1 prior to its 2017 enactment.

This data easily satisfies plaintiffs’ obligation to provide an estimate showing a class

size in excess of forty persons. See Cox, 784 F.2d at 1553; Wright, 201 F.R.D. at 537.

            Plaintiffs’ proposed LFO subclass also easily satisfies the numerosity

requirement. A May 2016 longitudinal study examined Alabama felony convictions

and related legal financial obligations, collecting 3,543 records of felony convictions

from the years 1995, 2000, and 2005 to 2011. 3 The study showed that the median

LFO at sentencing “doubled from just under $1,000 in 1995 to about $2,000 in 2005,

where it has remained since.” 4 As the study noted, “this increase may not seem that

dramatic, [but] it is quite a substantial change relative to the average income of the

convicted felon population.” 5 The study reported that the national average annual



3 Claire Greenberg, Marc Meredith & Michael Morse, The Growing and Broad Nature of Legal
Financial Obligations: Evidence from Alabama Court Records, 48 Conn. L. Rev. 1079, 1104-07 (2016),
https://www.sas.upenn.edu/~marcmere/workingpapers/AlabamaLFOs.pdf (attached as Attachment B
to Ex. 5 (Lang Declaration)).
4   Id. at 1105.
5   Id.

                                                7
      Case 2:16-cv-00783-ECM-SMD Document 106 Filed 05/10/18 Page 12 of 24



income of the formerly incarcerated population in 2004 was about $9,000, while a

survey of the same population in Alabama for 2014 showed a median annual income

of $8,000 and a mean income of $10,894. 6 This is well below the federal poverty rate

of $12,140 for individuals, let alone the rate for those with dependents. 7 The study

explained that this meant the “increase in the median LFO assessment in a felony

case in Alabama [since 1995] is equal to more than ten percent of expected annual

income,” 8 and thus the total average LFO post-2005 is equal to more than twenty

percent of expected annual income. The average formerly incarcerated felon in

Alabama—of which there are tens of thousands—therefore is well below the federal

poverty line, and thus must prioritize life necessities over paying off LFOs. This data

alone demonstrates that the vast majority of the felons identified in the Sentencing

Commission report will be precluded by their socioeconomic status from regaining

their voting rights through the CERV process for a prolonged period of time after they

have satisfied all other CERV requirements.

          A follow-on 2017 study linked the data from the 2016 study to data showing

the number of formerly incarcerated Alabama felons who retain an unpaid LFO

balance, and are thus ineligible for the CERV process. That study reported that, of

the “sample of more than 1,000 individuals who have completed their sentence(s) . . .




6   Id. at 1105-06, 1106 n.120.
7U.S. Dep’t of Health & Human Servs., HHS Poverty Guidelines for 2018, https://aspe.hhs.gov/poverty-
guidelines.
8   Greenberg, supra note 3, at 1106 (emphasis added).

                                                   8
       Case 2:16-cv-00783-ECM-SMD Document 106 Filed 05/10/18 Page 13 of 24



about 75% have [ ] a remaining [LFO] balance.” 9 The study also showed that inability

to repay, rather than unwillingness, was the likely cause. For example, the study

found that use of a public defender, “a proxy for [ ] ability to pay[,] is associated with

[a remaining] LFO balance.” 10 The data show that “82.3% of public defense users have

a balance compared to 67.1% of those who retain counsel.” 11 The study also examined

a random sample of CERV applicants who could be linked to a record from Alabama’s

conviction database, www.alacourt.gov, and found that “44% . . . were denied due to

LFOs.” 12 The sample size was 632. 13 Just this portion of the sample would meet the

numerosity requirement of Rule 23(a)(1).

           Although it is not possible from this data to identify a precise number of

Alabama felons who are unable to obtain a CERV solely because of their

socioeconomic status (nor is that the requirement for certification), this data

unequivocally shows that it is far more than forty people, see Cox, 784 F.2d at 1553,

and thus plaintiffs have met their burden to establish numerosity with respect to the

LFO subclass. 14



9Marc Meredith & Michael Morse, Discretionary Disenfranchisement: The Case of Legal Financial
Obligations        at         21          (2017),        https://www.sas.upenn.edu/~marcmere/
workingpapers/DiscretionaryLFOs.pdf (attached as Attachment C to Ex. 5 (Lang Declaration)).
10   Id. at 24.
11   Id.
12   Id. at 27.
13   Id., app. at 19 (Table A.13).
14 That is so even when one accounts for the specific enumeration of disqualifying felonies enacted in

2017. For example, of the 14,794 “top 25” felony offense convictions in Alabama in fiscal year 2015,
4,412, or nearly 30%, were for disqualifying felonies. See supra note 2, at 18. Thirty percent of even
the sample sizes in the studies cited above—let alone the total relevant population—is far above the
requirements of numerosity for maintaining a class action.

                                                  9
   Case 2:16-cv-00783-ECM-SMD Document 106 Filed 05/10/18 Page 14 of 24



      Plaintiffs easily meet the numerosity requirements of Rule 23(a)(1).

      B.       Commonality

      Plaintiffs also satisfy the requirement that “there [be] questions of law or fact

common to the class.” Fed. R. Civ. P. 23(a)(2). “Commonality requires the plaintiff to

demonstrate that the class members ‘have suffered the same injury . . . .’” Wal-Mart

Stores, Inc. v. Dukes, 564 U.S. 338, 349-50 (2011) (quoting Gen. Tel. Co. of Sw. v.

Falcon, 457 U.S. 147, 157 (1982)). “[F]or purposes of Rule 23(a)(2), [e]ven a single

[common] question will do.” Id. at 359 (internal quotation marks omitted; first

bracket added). The commonality requirement is satisfied if the question “is capable

of classwide resolution—which means that determination of its truth or falsity will

resolve an issue that is central to the validity of each one of the claims in one stroke.”

Id. at 350.

      The commonality requirement is met here. This case presents common

questions, including, but not limited to:

           •   Whether defendant’s retroactive application of Section 17-3-30.1

               violates the Ex Post Facto Clause;

           •   Whether defendant’s retroactive application of Section 17-3-30.1

               violates the Fourteenth Amendment;

           •   Whether Section 177(b) was enacted and maintained with a

               discriminatory purpose in violation of the Fourteenth Amendment;




                                            10
   Case 2:16-cv-00783-ECM-SMD Document 106 Filed 05/10/18 Page 15 of 24



          •   Whether defendant’s application of Section 17-3-30.1, in whole or in

              part, imposes cruel and unusual punishment in violation of the Eighth

              Amendment; and

          •   Whether the Fourteenth Amendment permits an otherwise eligible

              voter to be denied the franchise because of her inability to pay LFOs.

      These legal issues are common both to the claims of the Named Plaintiffs and

to the claims of the unnamed class members. Alabama disenfranchises all felons with

a disqualifying conviction, regardless of whether that conviction occurred prior to the

2017 enumeration. Likewise, all otherwise eligible citizens are denied restoration of

their voting rights if they cannot afford to pay LFOs. Alabama law applies in a

uniform manner to all class and subclass members and allows no discretion for

differential treatment, including no exception for indigency.

      For all of these questions, class treatment here has the capacity “‘to generate

common answers apt to drive the resolution of the litigation.’” Wal-Mart, 564 U.S. at

350 (emphasis in original) (quoting Richard A. Nagareda, Class Certification in the

Age of Aggregate Proof, 84 N.Y.U. L. Rev. 97, 132 (2009)). Unlike in Wal-Mart, where

the Court found that commonality did not exist because plaintiffs had not “identified

a common mode of [each supervisor] exercising discretion that pervade[d] the entire

company,” id. at 356, here, Alabama’s law affects all class and subclass members in

the exact same manner—by preventing them from voting based upon their

disqualifying convictions or inability to pay LFOs. Injunctive and declaratory relief




                                          11
   Case 2:16-cv-00783-ECM-SMD Document 106 Filed 05/10/18 Page 16 of 24



will resolve all class and subclass members’ claims “in one stroke.” Id. at 350.

Plaintiffs easily satisfy the commonality requirement.

      C.     Typicality

      The third requirement of Rule 23(a) is that “the claims or defenses of the

representative parties are typical of the claims or defenses of the class.” Fed. R. Civ.

P. 23(a)(3). For the same reasons that plaintiffs’ claims meet the commonality

requirement, they also meet the typicality requirement. Indeed, the Supreme Court

has noted that the typicality, adequacy of representation, and commonality

requirements “tend[ ] to merge.” Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 626

n.20 (1997). “A class representative must possess the same interest and suffer the

same injury as the class members in order to be typical under Rule 23(a)(3).” Murray

v. Auslander, 244 F.3d 807, 811 (11th Cir. 2001). The typicality requirement focuses

on the named and unnamed plaintiffs’ legal claims, rather than their factual

circumstances. See id. (“The typicality requirement may be satisfied despite

substantial factual differences [ ] when there is ‘strong similarity of legal theories.’”

(quoting Appleyard v. Wallace, 754 F.2d 955, 958 (11th Cir. 1985))).

      Here, there is no question that the Named Plaintiffs’ claims are in fact

identically aligned with those of the unnamed class members. Named Plaintiffs

Thompson, Gamble, Lanier, and King are all disenfranchised on account of their

conviction for disqualifying felonies, and are all disenfranchised despite their

convictions predating the 2017 enumeration of those felonies. See Ex. 1 (Thompson

Decl.) ¶ 3; Ex. 2 (Gamble Decl.) ¶ 3; Ex. 3 (Lanier Decl.) ¶ 3; Ex. 4 (King Decl.) ¶ 3.


                                           12
   Case 2:16-cv-00783-ECM-SMD Document 106 Filed 05/10/18 Page 17 of 24



Moreover, Named Plaintiffs Thompson and Gamble satisfy all but one requirement

to regain their voting rights under the CERV process—payment of LFOs—and their

socioeconomic status precludes them from paying their LFOs. Ex. 1 (Thompson Decl.)

¶¶ 8-10; Ex. 2 (Gamble Decl.) ¶¶ 4-6. The Named Plaintiffs seek injunctive and

declaratory relief permitting them to vote, and the relief they seek is identical to that

sought by all of the unnamed class members who are similarly disenfranchised by

Alabama law. That relief would resolve the claims of all class and subclass members.

      The claims of the Named Plaintiffs thus are entirely aligned with the unnamed

class members—all seek to have their voting rights restored, notwithstanding their

felony convictions or socioeconomic status—and injunctive and declaratory relief will

address all claims. The typicality requirement is plainly satisfied.

      D.     Adequacy of Representation

      The final requirement of Rule 23(a) is that “the representative parties will

fairly and adequately protect the interests of the class,” Fed. R. Civ. P. 23(a)(4), and

this inquiry overlaps with the inquiry into commonality and typicality, see Amchem,

521 U.S. at 626 n.20. “The adequacy inquiry under Rule 23(a)(4) serves to uncover

conflicts of interest between named parties and the class they seek to represent.” Id.

at 625. A minor conflict is insufficient to cause representatives to be deemed

inadequate. “[T]he existence of minor conflicts alone will not defeat a party’s claim to

class certification: the conflict must be a ‘fundamental’ one going to the specific issues

in controversy.” Valley Drug Co. v. Geneva Pharms., Inc., 350 F.3d 1181, 1189 (11th

Cir. 2003). For a conflict to be fundamental, “some party members [must] claim to


                                           13
   Case 2:16-cv-00783-ECM-SMD Document 106 Filed 05/10/18 Page 18 of 24



have been harmed by the same conduct that benefitted other members of the class.”

Id. In addition, the adequacy of representation inquiry is aimed at determining

“whether the representatives will adequately prosecute the action.” Id. “[A]dequate

class representation generally does not require that the named plaintiffs demonstrate

to any particular degree that individually they will pursue with vigor the legal claims

of the class.” Kirkpatrick v. Bradford, 827 F.2d 718, 727 (11th Cir. 1987). Only where

the named plaintiffs “virtually have abdicated to their attorneys the conduct of the

case,” is adequacy at issue. Id. at 728.

      Here, the representatives are plainly adequate. In this case, the Named

Plaintiffs do not have any conflict—let alone a fundamental one—with the other

members of the class and subclasses. The injunctive and declaratory relief they seek

will benefit the entire class in the same manner—grating the right to vote or the

ability to regain that right regardless of socioeconomic obstacles—for all class and

subclass members. Moreover, the Named Plaintiffs are knowledgeable about the

facts, the litigation, and the significant harm caused by their disenfranchisement,

and are dedicated to actively participating in the litigation on behalf of all class and

subclass members. See Ex. 1 (Thompson Decl.) ¶¶ 11-13; Ex. 2 (Gamble Decl.) ¶¶ 7-

9; Ex. 3 (Lanier Decl.) ¶¶ 5-8; Ex. 4 (King Decl.) ¶¶ 4-6. They are plainly adequate

class representatives.

      So too are plaintiffs’ counsel. “The adequacy [requirement] also factors in

competency and conflicts of class counsel.” Amchem, 521 U.S. at 626 n.20. Class

counsel in this case easily meet the adequacy requirement of Rule 23(a)(4). “The


                                           14
    Case 2:16-cv-00783-ECM-SMD Document 106 Filed 05/10/18 Page 19 of 24



adequacy of counsel prong of Rule 23(a)(4) asks whether counsel are qualified,

experienced and generally able to conduct the litigation and whether counsel will

vigorously prosecute the interests of the class.” 1 William B. Rubenstein, Newberg on

Class Actions § 3:72 (5th ed. 2017) (internal quotation marks and footnotes omitted).

“As to the adequacy of counsel for the class representative, absent specific proof to

the contrary, the adequacy of class counsel is presumed.” Sanchez-Knutson v. Ford

Motor Co., 310 F.R.D. 529, 540 (S.D. Fla. 2015) (internal quotation marks and bracket

omitted). Plaintiffs are represented by a number of counsel with substantial

experience in election law and voting rights litigation, civil rights litigation generally,

and class actions. See, e.g., Ex. 5 (Lang Decl.); Ex. 6 (Amunson Decl.); Ex. 7 (Karlan

Decl.); Ex. 8 (McGuire Decl.); Ex. 9 (Blacksher Decl.).

       For these reasons, as demonstrated in counsel’s declarations, class counsel also

satisfy the requirements of Rule 23(g), which requires that the Court appoint class

counsel at the time of certification, and that in doing so the Court consider (1) “the

work counsel has done in identifying or investigating potential claims in the action,”

(2) “counsel’s experience in handling class actions, other complex litigation, and the

types of claims asserted in the action,” (3) “counsel’s knowledge of the applicable law,”

and (4) “the resources that counsel will commit to representing the class.” Fed. R. Civ.

P. 23(g)(1)(A)(i)-(iv).

       Plaintiffs have satisfied their initial burden to demonstrate adequacy of

representation, 3 Newberg on Class Actions, supra § 3:72, and absent any evidence to

the contrary, the Court should thus presume the adequacy has been satisfied, id.


                                            15
       Case 2:16-cv-00783-ECM-SMD Document 106 Filed 05/10/18 Page 20 of 24



III.     Class Certification Is Appropriate Under Rule 23(b)(2)

         The Court should certify the class pursuant to Rule 23(b)(2). A class action may

be maintained pursuant to Rule 23(b)(2) when “the party opposing the class has acted

or refused to act on grounds that apply generally to the class, so that final injunctive

relief or corresponding declaratory relief is appropriate respecting the class as a

whole.” Fed. R. Civ. P. 23(b)(2). The Supreme Court has noted that certification under

Rule 23(b)(2) is particularly appropriate in “[c]ivil rights cases against parties

charged with unlawful, class-based discrimination.” Amchem, 521 U.S. at 614. “The

key to the (b)(2) class is ‘the indivisible nature of the injunctive or declaratory remedy

warranted—the notion that the conduct is such that it can be enjoined or declared

unlawful only as to all of the class members or as to none of them.’” Wal-Mart, 564

U.S. at 360 (quoting Nagareda, supra at 132).

         Such is the case here. First, this is exactly the type of civil rights action Rule

23(b)(2) was created to foster. Alabama categorically denies citizens convicted of

disqualifying felonies from voting, applies that disqualification retroactively to all

felons convicted prior to the legislature’s 2017 enumeration of the list of disqualifying

felonies, and withholds restoration of voting rights through the CERV process for

every citizen who is otherwise eligible but has outstanding LFOs—without any

exception for indigency. There are no differences among the class and subclass

members, and therefore injunctive and declaratory relief is “appropriate respecting

the class as a whole.” Fed. R. Civ. P. 23(b)(2). It is precisely the class and subclasses’

unifying features—their felony convictions, regardless of date, and their inability to


                                             16
   Case 2:16-cv-00783-ECM-SMD Document 106 Filed 05/10/18 Page 21 of 24



pay LFOs—that Alabama’s law targets. The Court should certify this action under

Rule 23(b)(2).

                                    CONCLUSION

      For the foregoing reasons, plaintiffs respectfully request that the Court certify

their proposed class and subclasses pursuant to Rule 23(b)(2) and appoint the

undersigned as class counsel.

                                Respectfully submitted,


                                /s/ Danielle Lang
                                Danielle Lang (CA Bar: 304450)
                                J. Gerald Hebert (VA Bar: 38432)
                                Mark P. Gaber (DC Bar: 988077)
                                Campaign Legal Center
                                1411 K Street NW, Suite 1400
                                Washington, DC 20005
                                (202) 736-2200
                                dlang@campaignlegalcenter.org
                                ghebert@campaignlegalcenter.org
                                mgaber@campaignlegalcenter.org

                                J. Mitch McGuire (AL Bar: ASB-8317-S69M)
                                McGuire & Associates LLC
                                31 Clayton Street
                                Montgomery, AL 36104
                                (334) 517-1000
                                jmcguire@mandabusinesslaw.com

                                James U. Blacksher (AL Bar: ASB-2381-S82J)
                                P.O. Box 636
                                Birmingham, AL 35201
                                (205) 591-7238
                                jblacksher@ns.sympatico.ca




                                          17
Case 2:16-cv-00783-ECM-SMD Document 106 Filed 05/10/18 Page 22 of 24



                       Jessica Ring Amunson (DC Bar: 497223)
                       Jenner & Block LLP
                       1099 New York Ave. NW, Suite 900
                       Washington, DC 20001
                       (202) 736-6000
                       jamunson@jenner.com

                       Pamela Karlan (NY Bar: 2116994)
                       Stanford Law School
                       559 Nathan Abbott Way
                       Stanford, CA 94305
                       (650) 725-4851
                       karlan@stanford.edu

                       Aderson B. Francois (DC Bar: 498544)
                       Institute for Public Representation
                       Georgetown University Law Center
                       600 New Jersey Ave. NW
                       Washington, DC 20001
                       (202) 662-6721
                       abf48@georgetown.edu

                       Armand Derfner (SC Bar: 1650)
                       Derfner & Altman
                       575 King Street, Suite B
                       Charleston, SC 29403
                       (843) 723-9804
                       aderfner@derfneraltman.com

                       Counsel for Plaintiffs




                                  18
    Case 2:16-cv-00783-ECM-SMD Document 106 Filed 05/10/18 Page 23 of 24




                            CERTIFICATE OF SERVICE

       I hereby certify that, on May 10, 2018, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system, which will send notification of such

filing to all counsel of record.



                                   /s/ Danielle Lang
                                   Danielle Lang
                                   Counsel for Plaintiffs

                                   Andrew Lynn Brasher
                                   Office of the Attorney General
                                   501 Washington Avenue
                                   Montgomery, AL 36130
                                   334-353-2690
                                   Fax: 334-242-4891
                                   Email: abrasher@ago.state.al.us

                                   Brad A. Chynoweth
                                   State of Alabama
                                   Office of the Attorney General
                                   501 Washington Avenue
                                   Post Office Box 300152
                                   Montgomery, AL 36130
                                   334.242.7997
                                   Fax: 334.353.8440
                                   Email: bchynoweth@ago.state.al.us

                                   James William Davis
                                   State of Alabama
                                   Office of the Attorney General
                                   P O Box 300152
                                   Montgomery, AL 36130-0152
                                   334-353-1356
                                   Fax: 334-353-8440
                                   Email: jimdavis@ago.state.al.us




                                              19
Case 2:16-cv-00783-ECM-SMD Document 106 Filed 05/10/18 Page 24 of 24



                       Laura Elizabeth Howell
                       Office of the Alabama Attorney General
                       P O Box 300152
                       Montgomery, AL 36130
                       334-353-1018
                       Fax: 334-353-8440
                       Email: lhowell@ago.state.al.us

                       Misty Shawn Fairbanks Messick
                       Office of the Attorney General
                       P O Box 300152
                       Montgomery, AL 36130-0152
                       334-353-8674
                       Fax: 334-353-8440
                       Email: mmessick@ago.state.al.us

                       Winfield James Sinclair
                       Office of the Attorney General
                       P o Box 300152
                       Montgomery, AL 36130
                       334-242-7300
                       Fax: 334-353-8440
                       Email: wsinclair@ago.state.al.us
                       Counsel for Defendants




                                 20
